                          Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 1 of 12 PageID #: 18
                                                                                                            FILED
                                                                                                          OCT 31 2018
                                                         UNITED STATES DISTRICT COURT                   U.S. DISTRICT COURT
                                                                                                      EASTERN DISTRICT OFMO
                                                         EASTERN DISTRICT OF MISSOURI                       ST.LOUIS
                                                               EASTERN DIVISION

                     UNITED STATES OF AMERICA,~                           )
                                                                          )         4:18CR00899 RLW/PLC
                                                  Plaintiff,              )
                                                                          )       No.
                                         v.                               )
                                                                          )       Count I, II
                     THOMAS B. WILSON,                                    )       Counts I, II
                     DANIEL B. JEROME,                                    )       Counts I, II
                     THOMAS TISHER,                                       )
                     and                                                  )       Counts I, II
                     DUSTIN M. HANEY,                                     )
                                                                          )
                                                 ·Defendants.             )

                                                                  INDICTMENT

                                  The Grand Jury charges:

                                                                 INTRODUCTION
                                                                              )


                                                           General Allegations
                                              The Racketeering Enterprise: The Aryan Circle

                                                                 INTRODUCTION

                                  1.    At all times relevant to this Indictment, the defendants, .
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                                                                THOMAS B. WILSON,
                                                                DANIEL B. JEROME,
                                                                 . THOMAS TISHER,
                                                                 DUSTIN M. HANEY,

                 ·and others, known and unknown, were members of the Aryan Circle (hereinafter the

                     "AC"), a criminal organization whose members and associates engaged in narcotics

                     distribution, firearms trafficking, and acts of violence involving murder, assault,

                     robbery, witness intimidation, and kidnapping.                 At all times relevant to this

                     Indictment, the AC operated throughout Texas, Oklahoma, Indiana, Louisiana, and

                     Missouri, including the Eastern District of Missouri, and elsewhere.



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  Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 2 of 12 PageID #: 19




       2._   The AC, including its leaders, members,
                                               "
                                                     prospects, and associates,
                                                                 '




constituted an "enterprise,'' as defined in Title 18, United States Code, Section

1959(b)(2) (hereafter "the enterprise"), that is, a group of individuals associated in

fact that engaged in and the activities of which affected interstate and foreign

commerce.    The enterprise constituted an ongoing organization whose members

functioned as a continuing unit for a common purpose of achieving the objectives of

the enterprise.

                     Structure and Operation of the Enterprise

      3.     The structure and operation of the AC included, bµt was not limited to,

the following:

             a.    The AC was a violent, race-based, "whites only" prison-based

gang with hundreds of members operating inside and outside of state and federal

penal institutions throughout Texas, Missouri, Oklahoma, Indiana, and Louisiana.

The AC offered protection to white inmates if they joined the gang.

             b.    The AC was established in approximately 1985 within the Texas

Department of Criminal Justice (TDCJ), where the traditional power x~nters of the

AC and members of the gang's leadership structure resided.           Recently, the AC's

structure, and influence expanded to rural and suburban areas throughout Texas,

Louisiana, and Missouri. The AC emerged during a period of internal turmoil within

the Aryan Brotherhood of Texas (ABT). Its original membership contained several
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ex-ABT members as well as others rejected for ABT membership.             The AC was

relatively small in comparison to other prison-based gangs, but grew in stature and

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      Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 3 of 12 PageID #: 20




    influence within TDCJ in the 199ps, largely through violent conflicts with other

    gangs, white and non-white alike, including the Mexican Mafia, the ABT, and others.

                 c.     The AC had a detailed and uniform organizational structure,

    which is outlined - along with various rules, procedures, and code of conduct - in a

    written "constitution" widely distributed to members throughout Texas, Louisiana,

    ·and elsewhere.

                 d.     The AC had a defined militaristic structure. AC members referred

    to the gang as the "Family.''. The AC had        a complex organizational structure which,~
    continued to evolve over time. The AC was overseen and directed by a five-member

    "Upper Board." The Upper Board had ultimate authority in all gang matters.
l
    Subordinate ranking members served to support the Upper Board to enforce gang

    members' discipline and adherence to established AC rules and laws. The Upper

    Board was comprise-d of the president, vice president, administrative chairman, and

    two other members. The AC had six branches: one for Texas prisons; one for the
                                                                                             \

    federal prison system; one for out of state prisons; one for international members; one
                                             '

    known as a motorcycle biker branch; and one for the "free world," (non-incarcerated

    gang members) each of which had its own Middle Board. The out of state prisons
                                                                       J


    were further divided into a handful of regions, each incorporating one or more states.

    The Middle Boards each included the Upper Board members,
                                     '               .
                                                             as well as the vice
                                                                   ~




    president and director of each branch.           Rules and regulations for the various

    branches came from Center Rings, which included all Middle Board Members.

                 e.    The AC was also divided between prison and free world chains of
                                                                           '

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                                 Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 4 of 12 PageID #: 21




                            command. Each prison had its.own hierarchy. In the free world, Texas was divided

                            into districts, presided over by district captains, who reported to majors who

                            controlled a number of districts.                                     The AC's ranking structure remained constant;

                            however, personnel changes (promotions, demotions, and terminations) occurred

                            frequently.

                                                                    f.         The AC also had certain members assigned to the "Task Force,"

                            which was comprised of a small group of members handpicked by the Upper Board to

                            enforce the rules of the organization and perform specific tasks or responsibilities.

                            The Task Force was 1ed by a commander and such tasks could range from managing .
                                                                                              '
                            some aspect of the AC's organization to performing a "hit" or other specific criminal

                            a~t      of violence, including meting-out punishmep.t against fellow gang members who

                            violated the gang's rules or killing rival gang members.

                                                                    g.         AC Upper Board. leaders had the authority within the gang to

                            issue "D.O.'s" (direct orders) and mete out punishment. A D.O. was an assignment

                            given to a subordinate AC member that would serve a purpose for the AC.                                   The D.O.

                            could range from a leader ordering a "violation," classified as "minor, serious, or

                            major," an "S.O.S." (smash on.sight), meaning the assault of an AC member who had

                            committed a violation of the AC rules which usually resulted in the removal of that

                            member's AC "patch" (gang tattoo) and membership, to a "Green Light" (kill order),

                            meaning the murder of a rival gang member or of an AC member or associate who

                            had committed an egregious violation of the gang's rules. Failure to perform a D.O.

                            resulted in )the assigned member being in violation of the rules. Punishment for

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  Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 5 of 12 PageID #: 22




failing to complete the D.O. could range anywhere from a fine, written violation,

beating, or death.

             h.      Members · of the AC greeted each other and showed their

membership in the gang using a handshake intended to represent the motto: "Silence

is Golden; Silence is Deadly; Silence is Mandatory; My Honor is called Loyalty!" The

AC employed a robust symbology as well, using        dep~ctions   of Nazi-style inspired

symbols and artwork to demonstrate their affiliation. Members often had tattoos

incorporating one or more Nazi-style symbols as well as State-specific symbols

including, but not limited to, the Iron Cross, eternal flame, "l3" (for first and third

letters of the alphabet - "AC"), swastika, and Schutzstaffel ("SS") lightning bolts.

The most coveted tattoo of AC :membership was the AC patch, which could be worn

only by fully made members who generally ascended to full membership by

committing a "blood-in mission" (aggravated assault or murder) on behalf of the gang.·

The design and shape ,of the patch evolved over time. The diamond tattoo was the

basic AC tattoo or "patch." It had ·many variations, including variations for different

·states, though common to each tattoo was a swastika tilted to resemble a diamond,

"SS" bolts, and the letters "AC" in the center. An older version of the AC patch was

a circle with "SS" bolts inside it. AC lexicon included "113%" (100% Aryaµ Circle),

"1388" or Aryan Circle variation of white supremacist code "14/88" (the 88 stood for

Heil Hitler), "CFFC" (Circle Forever, Forever Circle), and "DFFD" (Diamond.Forever,

Forever Diamond), among others. The colors associated with the AC were blue and

gray, and members of the AC often demonstrated their affiliation with the AC by

                                          5
  Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 6 of 12 PageID #: 23




wearing clothing containing the colors blue and gray or incorporating some of ~he

 gang's other symbols or phrases.

              i.                                               '
                       Once released from incarceration, AC members were required to

remain loyal to the AC and were required to immediately repdrt to outside leaders to

further the goals of the AC through criminal activity. They were required to attend

"church" meetings, which we{e meetings held to discuss and conduct AC gang

business. One of the goals of the AC was to recruit new members. AC members

were recruited from both. inside and outside state and federal penal institutions. In
                                                                                                \
order to be considered for AC membership, a person had to be sponsored by another

·AC member.        Once sponsored, a prospective member had to serve a "pre-prospect"

term usually of not less than six months, during which he was referred to as a

prospect, and his conduct was observed by other gang members. During this period,

the prospect was required to study and learn the AC constitution and by-laws.

During the prospect period, the individual was considered part of the AC family and

entitled to the full protecticm of the gang.       The prospect was also subject to the rules

and orders of the gang. If the prospect's conduct during the probationary period was
                                                                                     '
deemed satisfactory, his membership to the gang was submitted to the gang

members.    The vote had to be unanimous to be admitted to the AC. The prospect

could be "black-balled" by a single member of the gang, and refused admission to the

AC. All AC members were required to attend monthly "church" meetings where

criminal activity was discussed, financial proceeds from criminal activity were

collected including, but not limited to, collection of drug proceeds from subordinate

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                          Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 7 of 12 PageID #: 24



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                      gang members for senior AC gang leaders, and disciplinary beatings of fellow AC

                      gang members were aqministered. All incarcerated AC members were expected to

                      "put-in-work" for the "family'' in order to earn the right to wear the AC patch.         This

                      normally required committing an act of violence on behalf of the organization. This

                     rule for AC members in the free-world was more loosely applied. Membership in the

                     AC is.generally for life. While there is no retirement from the AC, members in good

                     standing can "slide-back" and reduce their active participation in the gang.

                                            J.    Unlike most major prison-based gangs, the AC admitted women

                     as full members and had a significant f~male member~hip.                    Some women had

                     achieved positions of considerable importance and responsibility within the
                                        )

                     organization.               In addition to members, the· enterprise included those closely

                     affiliated with the AC, who were caUed "associates." Wives or girlfriends :of AC

                     members who were not themselves full patched members were often associates and

                     called themselves "featherwoods." They were allowed to associate with the AC so long
                                  ..)

                     as they complied with the gang's rules and served to promote the goals of the "family."

                    Associates and featherwoods             funct~oned    as communications hubs, facilitating gang

                     communications and criminal activities among imprisoned members throughout the                   ,-

                    penal system through the use of the telephone, the internet, the United States Mail,

                     and common carriers.              Featherwoods and associates also smuggled drugs, cellular

                     telephones, and other items of contraband, to imprisoned gang members.




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                            Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 8 of 12 PageID #: 25




                                                                            Purposes of the Enterprise
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                                   4.                   The purposes of the enterprise included,, but were not limited to, the

                                   following:

                                                a. Enriching the leaders, members, and associates of the enterprise

                         through, among other things, illegal trafficking of controlled substances and firearms,

                         often in interstate and foreign commerce.

                                                b. Preserving, protecting, and enhancing the power, territory, reputation,

                         and profits of the enterprise through the use of threats, intimidation, violence, and

                         destruction, including, but not limited to, acts involving murder, assault,,' obstruction
                                                                                                         l
                        of justice, and other acts of violence.                                                            /


                                                c. Promoting and enhancing the enterprise and its members' and

                        associates' activities:

                                                d. Keeping victims in fear of the enterprise and in fear of its leaders,

                        members, and associates through threats, of violence and actual violence.

                                                e. Providing financial support to gang members who were charged with or

                        incarcerated for gang-related activities.

                                                                       Means and Methods of the Enterprise

                                   5.                   The means and methods by which the leaders, members, and

                        associates conducted and participated in the conduct of the affairs of the AC criminal

                        enterprise included the following:

                                                a. The leaders of the enterprise directed, sanctioned, approved;- and

                          permitted other members and associates of the enterprise to carry out acts in

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                   Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 9 of 12 PageID #: 26




              furtherance of the enterprise.

                            b. Members of the enterprise and their associates committed, conspired to

              commit, and threatened to commit acts of violence, including murder, attempted

              murder, kidnapping, robbery, assault,\ intimidation, and extortion to protect the
                                                        ~



              enterp,rise's power, territory, and property.

                            c. To generate income, AC members and associates engaged in illegal

              activities under the protection of the enterprise, including narcotics trafficking,

              weapons trafficking, and other illegal activities.

                            d. For protection, attacks, an,d armed combat, AC members and associates

              acquired, carried, and used firearms.

                            e. Members and associates of the enterprise employed and used gang-

              related terminology, symbols, phrases, and gestures to demonstrate affiliation with

              the gang.
                                     /
                                 '
                            f. To perpetuate th~ enterprise and to maintain. and extend their power,

              members and associates of the enterprise committed and conspired to commit acts

              including murder, attempted murder, intimidation, and assault against indivi4uals
                                                    '
              who posed a threat to ,the enterprise_ or jeopardized its operations, rival organizations,
                                              I



             AC members, and witnesses to illegal activities of the enterprise.

                            g. Members and associates of the ·enterprise talked in code when

               communicating over the telephone and/or in writing to avoid law enforcement

               detection, and communication in person was always preferable.



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 Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 10 of 12 PageID #: 27




                   h. Members of the enterprise and their associates were forbidden from
                                       .                                          '


cooperating with law enforcement.                   Legal paperwork was reviewed for signs of

cooperation.

          6.                The above-described AC enterprise, through its members and

associates, engaged in racketeering activity as defined in Sections 1959(b)(l) and

1961(1), of Title 18, United States Code, that is, multiple acts involving murder,

robbery, extortion, and kidnapping, in violation of Texas Penal Code, Lo"Uisiana

Revi$ed Statutes, and Missouri Revised Statutes; and multiple offenses involving
                                  -·                                                                     '

narcotics trafficking, iri violation of Sections 841(a)(l) (distribution and possession

with the intent to distribute a controlled substance) a:µd 846 (conspiracy to distribute

and possess with the intent to distribute a controlled substance), of Title 21, United
      \
States Code.

                                                   COUNT 1

Violent Crimes In Aid of Racketeering, Assault Resulting in Serious Bodily Injury to
                                        C.B.-
                          [18 U.S.C. §§ 1959(a) (3) and 2]

      7.                    Paragraphs ONE through SIX of the General Allegations of this

Indictment are re-alleged and incorporated by reference as though fully set forth

herein.

      8.                    On or about November 9, 2013, in the   ~astern   District of Missouri, for

the purpose of gaining entrance to and maintainin-g and increasing position in the

AC, an enterprise engaged in racketeering activity, the defendants,

                                             THOMAS B. WILSON,

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  Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 11 of 12 PageID #: 28




                                        DANIEL B. JEROME,
                                         THOMAS TISHER,
                                        DUSTIN M. HANEY,
                                                                                     '

 and others known and unknown to the grand jury, while aiding and abettfog each

 other, did assault C. B., resulting in serious bodily injury,, in violation of Missouri

'Revised Statutes, Sections 565.050 (First Degree Assault), and 562.041 (Aiding and

 Abetting). All in violation of Title 18, United _States Code, Sections 1959(a) (3) and

 2.

                                                   COUNT2,

                      Using and Carrying a Firearm During and in Relation to a
                               Crime of Violence; Aiding and Abetting
                                [18 U.S.C. §§ 924(c)(l) (A)(ii) and 2]


            9.        On or about November 9, 2013, in the Eastern District of Missouri, the

 defendants,

                                        THOMAS B. WILSON,
                                        DANIEL B. JEROME,
                                          THOMAS TISHER,
                                         DUSTIN M. HANEY,

            along with others known and unknown to the grand jury, while aiding and

· abetting each other, did knowingly and intentionally use and carry a firearm during

 and in relation to a crime of violence for which the defendants may be prosecuted in
                                         '

 a court of the United States, as alleged in COUNT 1 of this indictment, which is

 incorporated by reference here, and did in the course of such offense brandish a
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                    Case: 4:18-cr-00899-RLW Doc. #: 2 Filed: 10/31/18 Page: 12 of 12 PageID #: 29




                  firearm. All in violation of Title 18, United States Code, Sections 924(c)(l)(A)(ii) and.

                  2.




                                                                 A TRUE BILL.



                                                                 FOREPERSON



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